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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  CHRISTOPHER MILLER, et al.,                      Case No. 24-cv-01988-RFL
                 Plaintiffs,
                                                   REFERRAL FOR PURPOSE OF
          v.                                       DETERMINING RELATIONSHIP
  APPLE INC.,
                 Defendant.



       Pursuant to Civil Local Rule 3-12(c), the above-entitled case is REFERRED to the

Honorable Richard Seeborg for consideration of whether the case is related to Collins et al. v.

Apple Inc., 3:24-cv-01796-RS.

       IT IS SO ORDERED.

Dated: April 5, 2024

                                                ______________________________________
                                                RITA F. LIN
                                                United States District Judge
